  16-52209-KMS Dkt 214 Filed 03/23/20 Entered 03/23/20 16:31:01 Page 1 of 2




                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 SOUTHERN DIVISION

IN RE: LENNIS J. DEROUEN AND                                       CHAPTER 13
        PATRICIA C. DEROUEN                             Case No.: 16-52209-KMS
______________________________________________________________________________

                 BANCORPSOUTH BANK’S OBJECTION TO MOTION
                         FOR GRANT OF DISCHARGE


       Comes now, BancorpSouth Bank, through its undersigned counsel, Nathan L. Prescott, and

files this, its objection to the Debtors’ Motion for Grant of Discharge [ECF Doc. 210] and in

support does state:

       On April 16, 2018, a Plan of Reorganization was confirmed which required the pro rata

payment of unsecured debt. BancorpSouth Bank filed a proof of claim (claim 19) outlining that

debtors were indebted to it for the unsecured sum of $91,751.22. BancorpSouth Bank does not

appear to have been fully paid pursuant to section 9(a) of the Plan of Reorganization. If

BancorpSouth Bank be mistaken in this assertion, it will withdraw this objection.

       Respectfully submitted this 23rd day of March, 2020.

                                            BANCORPSOUTH BANK

                                     By:    Page, Mannino, Peresich & McDermott, P.L.L.C.

                                     By: /s/ Nathan L. Prescott
                                             Nathan L. Prescott (Ms. Bar No. 101288)

NATHAN L. PRESCOTT, MSB NO. 101288
PAGE, MANNINO, PERESICH
& McDERMOTT, P.L.L.C.
759 Howard Avenue (39530)
P. O. Drawer 289
Biloxi, MS 39533
Tel.: (228) 374-2100
Nathan.Prescott@pmp.org
  16-52209-KMS Dkt 214 Filed 03/23/20 Entered 03/23/20 16:31:01 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I, NATHAN L. PRESCOTT, of the law firm of Page, Mannino, Peresich & McDermott,

P.L.L.C., do hereby certify that I electronically filed the foregoing BANCORP SOUTH BANK’S

OBJECTION TO MOTION FOR GRANT OF DISCHARGE with the Clerk of the Court using

the electronic court filing system which sent notification of such filing to all parties of record

including

       Natalie Kareda Brown                           Michael Taylor Ramsey
       lcaplan@rubinlublin.com                        mike@sheehanlawfirm.com
       nbrown@rubinlublin.com                         tammy@sheehanlawfirm.com
       vbaggett@rubinlublin.com                       pat@sheehanlawfirm.com
       akhosla@rubinlublin.com                        dona@sheehanlawfirm.com
                                                      Lisa@gulfcoastlawyer.com
       Warren A. Cuntz
       wacuntzcourt@cableone.net                      United States Trustee
                                                      USTPRegion05.JA.ECF@usdoj.gov



       So Certified, this 23rd day of March, 2020.

                                             /s/ NATHAN L. PRESCOTT
                                                 Nathan L. Prescott (MSBN 101288)




                                                -2-
